       Case 7:19-cv-00265-NSR-VR            Document 168-1   Filed 12/26/24   Page 1 of 15

          Letitia James
          New York State Attorney General




   Search

     schlesinger


   Sort by                                          Order

     Date                                             Desc



      Search



December 19, 2024
75(5)(b) Findings - New Rochelle City PD - L Schlesinger
… Re: Executive Law 75(5)(b) Referral of Police Officer Lane Schlesinger OAG Matter No. 1-
793542917 Dear Police … your agency’s January 26, 2022, referral of Officer Lane
Schlesinger pursuant to Executive Law §75(5)(b). Based on our review, we conclude that
Officer Schlesinger engaged in a pattern of misconduct involving the …


October 05, 2022
Reports library
… (LEMIO) 75(5)(b) Findings - New Rochelle City PD - L Schlesinger View/download
document Date: 12-19-2024 Bureau: …


September 14, 2020
casa de maryland op
       Case 7:19-cv-00265-NSR-VR     Document 168-1    Filed 12/26/24   Page 2 of 15
… (4th Cir. 1991) (quoting Tucker Anthony Realty Corp. v. Schlesinger, 888 F.2d 969, 975
(2d Cir. 1989)). …


November 27, 2017
A.G. Schneiderman Announces Guilty Plea Of Brooklyn Real Estate
Developer Daniel Melamed
… Assistant Attorneys General Brian McDonald and Lana Schlesinger, under the
supervision of Real Estate Enforcement …


November 27, 2017
Schneiderman Anuncia Declaracion De Culpabilidad Propietario De
Brooklyn Daniel Melamed
… procesado por los Fiscales Adjuntos Brian McDonald y Lana Schlesinger, bajo la
supervisión del Jefe de la Unidad de …


August 10, 2016
A.G. Schneiderman Announces Agreement Barring Tanning Salon
Chain From Making Misleading Health Claims - Total Tan, Inc
… Eric T. Schneiderman today announced that Justice Alice Schlesinger of the New York
Supreme Court approved a …


August 10, 2016
Schneiderman Anuncia Acuerdo Bloqueando Cadena De Salón De
Bronceado Que Hace Afirmaciones Engañosas Sobre Beneficios De
Salud - A.G. Schneiderman Announces Agreement Barring Tanning
Salon Chain From Making Misleading Health Claims - Total Tan, Inc
… Eric T. Schneiderman anunció hoy que la Jueza Alice Schlesinger de la Corte Suprema
de Nueva York aprobó un …


February 25, 2016
           Case 7:19-cv-00265-NSR-VR   Document 168-1   Filed 12/26/24   Page 3 of 15
  Westbury Union Free School District AOD
  … (516) 876-5006 Copy to: Lawrence J. Tenenbaum, Esq. Jaspan Schlesinger LLP 300
  Garden City Plaza Garden City, NY 11530 ( …


  November 03, 2000
  Spitzer Announces $5 Million Agreement With Contact Lens
  Manufacturer In Antitrust Violation Case
  … Under the proposed settlement, U.S. District Judge Harvey Schlesinger has approved
  the states' request to extend notice …


  July 19, 1999
  Garment Manufacturers Cited Under "hot Goods" Law
  … industry." New York County Supreme Court Judge Alice Schlesinger granted an
  injunction sought by the Attorney …



Type
75(5)(b) Findings (1)
Court Filing (1)
Page (1)
Press Release (6)
Settlements Agreements (1)

Date
2024 (1)
2022 (1)
2020 (1)
2017 (2)
2016 (3)
2000 (1)
           Case 7:19-cv-00265-NSR-VR   Document 168-1   Filed 12/26/24   Page 4 of 15
1999 (1)
              Case 7:19-cv-00265-NSR-VR         Document 168-1         Filed 12/26/24          Page 5 of 15




                                                 STATE OF NEW YORK
                                           OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                         DIVISION OF SOCIAL JUSTICE
ATTORNEY GENERAL                                                             LAW ENFORCEMENT MISCONDUCT INVESTIGATIVE OFFICE

         May 24, 2024
         Police Commissioner Robert Gazzola
         New Rochelle Police Department
         475 North Avenue
         New Rochelle, New York 10801

         Via Email

                   Re:   Executive Law 75(5)(b) Referral of Police Officer Lane Schlesinger
                         OAG Matter No. 1-793542917


         Dear Police Commissioner Gazzola,
                We have reviewed your agency’s January 26, 2022, referral of Officer Lane Schlesinger
         pursuant to Executive Law §75(5)(b). Based on our review, we conclude that Officer
         Schlesinger engaged in a pattern of misconduct involving the abuse of authority in connection
         with on- and off-duty incidents. Officer Schlesinger was subject to discipline by your agency in
         connection with these incidents, and it is our understanding that he is currently assigned to desk
         duty with limited interaction with members of the public.

                  Following receipt of the referral, personnel from the Office of the New York State
         Attorney General (“OAG”) reviewed NRPD’s internal investigative files, disciplinary outcomes,
         relevant police paperwork, video footage, and policies that governed the alleged misconduct.
         We also reviewed materials, including video footage, from the North Shore University Hospital,
         the site of one of the referred incidents. We interviewed several individuals who made
         complaints against Officer Schlesinger, witnesses to those incidents, and Officer Schlesinger
         himself.

                This letter sets forth the OAG’s findings, conclusions, and recommendations relating to
         NRPD’s Disciplinary Procedures and Uniform Traffic Ticket and Enforcement Policy pursuant
         to Executive Law § 75(5)(c).

         I.        FINDINGS

                 The findings of fact described below are based on an evaluation of the evidentiary record
         using a preponderance of the evidence standard.
  Case 7:19-cv-00265-NSR-VR             Document 168-1        Filed 12/26/24      Page 6 of 15




           A. Officer Schlesinger’s Employment at NRPD

       Officer Schlesinger commenced full-time employment at the New Rochelle Police
Department on July 31, 2006, as a police officer. Since January 2008, Officer Schlesinger has
been disciplined for twenty-five complaints of misconduct and minor infractions.

       Since mid-2022, Officer Schlesinger has been assigned to desk duty in an assignment that
does not put him into contact with members of the public.

           B. Complaint #1

        On January 21, 2021, Officer Schlesinger conducted a traffic stop involving Complainant
# 1, an African American female who was operating a van. Following the traffic stop,
Complainant # 1 lodged a complaint with NRPD and reported that she was “randomly pulled
over by two officers for no reason.” One of the officers informed her that she was pulled over
because she drove a van without the appropriate license plate, but she alleged that she was
racially profiled. NRPD provided our office with in-car camera video footage of the traffic stop.
We were not able to view the in-car camera video footage but were able to retrieve the audio
contained therein.

        Based on Officer Schlesinger’s in-car camera’s audio, he approached Complainant # 1
and asked for her license and registration. He explained that he wanted to know if she had a
“passenger vehicle” on her registration and that if she was using her vehicle for “work” it would
be a “big problem.” She explained that she had three vans for personal use. Officer Schlesinger
responded, “why would you have three vans, that’s my question” and told her work vans usually
have commercial plates and hers does not have commercial plates affixed. Officer Schlesinger
returned to his police vehicle and verified that she had a valid class C license. He returned to the
driver and handed her license and registration and told her to “have a nice day.” He did not issue
a summons. The driver stated that she has never been pulled over “ever in her life like this, for
driving a van.”

         During Officer Schlesinger’s interview with the OAG, he recalled stopping Complainant
#1’s van because he believed it was being used as a livery service or other commercial purpose
since it had twelve to fifteen seats. He asked Complainant # 1 for identification and
Complainant # 1 became “combative” and accused him of racially profiling her. He informed
Complainant # 1 that he stopped her because she drove an extended van with multiple seats,
which indicated that the van was intended to be used for a commercial purpose. She responded
that it was her personal vehicle. He ran “checks” of the driver’s license and van and learned that
the license and registration were valid. He did not remember issuing a summons but explained
that he usually did not issue summonses when drivers are compliant and cooperative and there is
a “good interaction.”

       During NRPD’s internal investigation, Officer Schlesinger stated at various points that he
had pulled over Complainant # 1 for a violation of VTL § 402 for improper plates because the
vehicle appeared to be used as a commercial vehicle with passenger license plates, that he pulled
over Complainant # 1 for a violation of § 106.3 of the New York State DMV Rules and

                                                 2
    Case 7:19-cv-00265-NSR-VR                 Document 168-1             Filed 12/26/24         Page 7 of 15




Regulations, and that § 390.5 of the Federal Motor Carrier Regulations was another basis for the
traffic stop. He denied conducting the stop based on race, creed, color, or gender. He stated that
he could not see the driver’s race when he initiated the traffic stop because he pulled up from
behind Complainant # 1’s vehicle.

        NRPD concluded that the vehicle stop was not “reasonable.” Officer Schlesinger did not
have a reasonable suspicion that Complainant # 1 committed a traffic offense and that he could
not stop Complainant # 1’s vehicle based on federal regulations for interstate commerce or DMV
rules and regulations. His delinquency record did not show that discipline was imposed even
though that allegation was sustained but, according to IAU, he was verbally counseled. The
internal investigation did not sustain allegations that Complainant # 1 was racially profiled and
stopped as a result of Officer Schlesinger’s of hate or bias because the investigation could not
prove or disprove them.

        We concur with NRPD’s conclusion that Officer Schlesinger did not conduct a
reasonable vehicle stop and find that it was in violation of NRPD policy and unlawful. NRPD’s
Uniform Traffic Ticket and Enforcement policy mandates officers to strictly enforce New York’s
Vehicle and Traffic Law based on reasonable suspicion that a motorist committed a VTL
violation.1 Under the agency’s policy, he did not have a reasonable suspicion that Complainant #
1 violated VTL § 402 considering that large vans can be driven for personal use. Furthermore,
NRPD’s traffic policy does not give officers the authority to enforce§ 390.5 of the Federal Motor
Carrier Regulations and § 106.3 of the New York State DMV Rules and Regulations.

             C. Complaint # 2

        Complaint 2 involves an off-duty incident that took place on August 30, 2021, at the
North Shore University Hospital in Manhasset, New York. NRPD was notified of this incident
by the hospital’s security director.

       The following account is based on the statements of hospital security staff, video from
the hospital, and Officer Schlesinger’s statements to NRPD and to the OAG.

        While off-duty, Officer Schlesinger went to the hospital to visit his mother, who was a
patient. He entered the hospital at the security check-in and approached a triage nurse. On
August 30th, visiting hours were suspended due to the COVID-19 pandemic. The security
officer, who was posted at the security check-in area, overheard the triage nurse inform Officer
Schlesinger that visitation hours were suspended. Officer Schlesinger ignored this statement and
walked past the triage nurse and toward the Emergency Department (“ED”). The triage nurse
called 911 to report Officer Schlesinger’s unauthorized entry into the hospital.

       One of the security officers attempted to prevent Officer Schlesinger from entering the
ED. According to the security officer, when he approached Officer Schlesinger, Officer
Schlesinger said to him, “lay hands me,” and moved towards him. The security officer stepped

1
 In section II, we recommend that NRPD amend its traffic enforcement policy to provide that officers have the
authority to conduct a traffic stop when they have probable cause, a higher standard than reasonable suspicion,
based on the New York Court of Appeals decision in People v Hinshaw, 35 NY3d 427 [2020].

                                                         3
  Case 7:19-cv-00265-NSR-VR            Document 168-1         Filed 12/26/24     Page 8 of 15




back. Officer Schlesinger showed his police badge and said he was a police officer, and told the
security officer to call his supervisor. The security officer responded that he could not give him
a pass. Officer Schlesinger continued to walk toward the ED and gained entry when someone
exited through the ED’s locked doors. The security officer radioed a message to another security
officer, who was posted inside the ED, and informed her that there was an unauthorized visitor
inside the ED.

        While Officer Schlesinger disputed that he told the security officer to lay hands on him,
asserted he was a police officer, or showed his badge, we find the statements of hospital security
staff more persuasive, as they had no motive to distort the day’s events and presumably would
not have known that Officer Schlesinger was a police officer unless he had told them as much.

        The second security officer observed when Officer Schlesinger first entered the ED. She
started to follow him and observed him look inside patients’ rooms and enter an adjacent area of
the ED referred to as the “gold” area. Another security officer observed Officer Schlesinger in
the triage area and followed him to the adjacent ED area. He told Officer Schlesinger that
visitors were not allowed. The security officers attempted to get Officer Schlesinger’s attention
and talk to him, but Officer Schlesinger appeared to be upset and acted aggressively. He told
them, “Don’t touch me.” As Officer Schlesinger walked about the ED, he caused a commotion
as the hospital’s nurses questioned why he was there.

        Officer Schlesinger eventually found his mother on a hospital bed in a hallway inside the
purple area. As he walked toward her, two security officers continued to follow him. As he
stood at the head of her hospital bed, two security officers remained close by. The security
officer asked him to leave the hospital. Officer Schlesinger turned to her and said, “What are
you going to do, put your hands on me?” Officer Schlesinger eventually walked out of the ED
and exited the hospital.

        Nassau County police officers arrived at the hospital. One of the Nassau County officers
approached Officer Schlesinger. Officer Schlesinger informed him that he was armed and was a
police officer. Nassau County officers requested his identification and Officer Schlesinger
complied with their request and handed them his driver’s license. The hospital employees did
not press charges against Officer Schlesinger, who was permitted to leave, but he was banned
from the hospital.

         NRPD concluded that Officer Schlesinger’s off-duty conduct inside of North Shore
University Hospital resulted in multiple violations of departmental policy, including failure to
immediately notify his Division Commander for a police related matter outside of the
jurisdiction of the City of New Rochelle, failure to notify his Division Commander about his
involvement in an off duty incident in which several marked police vehicles and police officers
were called to the scene and present during an inquiry into Officer Schlesinger’s actions during
the August 30, 2021 incident, and acting in a manner that did not reflect most favorably on the
NRPD or himself as a member of the department. NRPD also noted that Officer Schlesinger
tried to use his status as a police officer to gain access to ED and he was reprimanded for the
violations of departmental policy. After the internal investigation, Officer Schlesinger was
informed that he would receive positive discipline in the form of a letter of counseling. He


                                                4
     Case 7:19-cv-00265-NSR-VR                Document 168-1           Filed 12/26/24   Page 9 of 15




believed that NRPD chose this form of discipline because the Nassau County police department
did not generate a police report for the incident at North Shore University Hospital. He told the
OAG that after the internal investigation was concluded, he was informed that NRPD would
issue a written “letter of counseling.” He believed that this letter was issued because Nassau
County police officers did not generate a police report. He became “curious what was
documented, if anything” and decided to call the Nassau County precinct. He asked the precinct
if a report was written for an event on August 31, 2021, and the precinct told him that no report
was taken. He did not tell the IAU detective lieutenant who conducted the internal investigation
that he called the precinct.

        We concur with IAU’s decision to sustain the allegations. We find that Officer
Schlesinger’s off-duty conduct was not in a manner as to reflect most favorably on the agency as
required by NRPD’s Rules and Regulations for Personal and Professional Conduct.2 We also
find that this conduct constituted an abuse of authority. During the OAG interview, he was not
forthcoming about the incident. He did not provide a full account about how often security
officers tried to prevent him entering and remaining in the ED and the extent to which he ignored
them. We credit the security officer’s account that Officer Schlesinger tried to use his badge and
status as a police officer to gain unauthorized access to the ED.

         In addition, we note that Officer Schlesinger called a Nassau County precinct to find out
if a police report was generated about the incident. If he invoked his position as an NRPD
officer during that call, this too could constitute abuse of authority.

               D. Complaint # 3

        On December 3, 2021, Officer Schlesinger’s sergeant submitted an interdepartmental
correspondence to a NRPD lieutenant because, on the same date, Officer Schlesinger declined to
read and sign a letter of counsel related to a violation of NRPD Rules and Regulation 1.5
concerning Officer Schlesinger’s meal period on December 2, 2021. The interdepartmental
correspondence did not discuss the underlying incident but focused on Officer Schlesinger’s
refusal to read and sign the letter of counsel as constituting an act of insubordination.

        In the sergeant’s interdepartmental correspondence, he described that on December 3,
2021, he and Officer Schlesinger met inside of the tour commander’s office regarding the
December 2, 2021 incident. He explained to Officer Schlesinger that he would receive a letter of
counsel, which he refused to read and sign. The sergeant explained that the letter of counsel was
not the same as command discipline or formal discipline, as they are issued for minor infractions
or violations of NRPD rules, regulations, and procedures. Officer Schlesinger told the sergeant
that he was refusing to sign the letter of counsel because he did not agree with its account of the
December 2, 2021 incident. He told his sergeant that he would speak to a PBA representative
about the letter of counsel. Later that day, the sergeant ordered Officer Schlesinger to sign it, but
Officer Schlesinger refused. He turned on his body worn camera to record their conversation.
According to the sergeant, as soon as Officer Schlesinger turned on his body worn camera,
Officer Schlesinger began to “aggressively question” him and repeatedly stated, “You are
ordering me to sign a piece of paper that is not true.” The sergeant told him that he had until the
2
    NRPD Rules and Regulations Chapter 2 Personal and Professional Conduct § 2.1

                                                        5
  Case 7:19-cv-00265-NSR-VR            Document 168-1         Filed 12/26/24      Page 10 of 15




end of tour to sign the letter of counsel. The sergeant described Officer Schlesinger’s conduct as
“wholly inappropriate,” “rude, disrespectful, and borderline insubordinate,” and “unacceptable,
unprofessional, hostile, argumentative, and not in line with the professionalism and strong moral
character our officers display on a daily basis.”

        The agency provided Officer Schlesinger’s body worn camera footage and it captured the
conversation with his sergeant while they were inside the tour commander’s office. The video’s
audio began the moment Officer Schlesinger told his sergeant, “Are you telling me that what you
are writing in this letter, no matter what it is, I have to sign this, no matter what you write?” The
sergeant responded and stated, “No, I’m telling you to read it and I’m telling you to sign it, if you
want, I will give you another hour and you can have a representative with you while you read it.”
Officer Schlesinger complained to the sergeant that the letter had inaccuracies and that he should
not have to sign it. He abruptly exited the sergeant’s office. Officer Schlesinger walked to
another office at the precinct, approached PBA representatives, and turned off his body worn
camera seconds later.

       During Officer Schlesinger’s interview with the OAG, Officer Schlesinger stated that he
spoke to PBA representatives about the encounter with the sergeant and ultimately decided not to
make a complaint against him. He admitted to turning on his body worn camera to record the
conversation and described it as a “mistake in judgement.”

         Officer Schlesinger’s sergeant reported Officer Schlesinger’s actions to a lieutenant. An
internal investigation was conducted and allegations for insubordination and failure to adhere to
departmental policies and procedures for body worn camera usage were sustained. Officer
Schlesinger’s actions constituted multiple violations of NRPD policy, including, the requirement
that all members of the department will not be insubordinate or disrespectful towards superior
officers and will obey and comply with any lawful order given by a superior officer, and that
body worn cameras shall not be used to record communications with other police personnel
without their permission. Negative discipline, namely the loss of five leave days, was imposed
by way of NRPD’s command discipline process.

        We concur with the internal investigation’s decision to sustain the allegations. We find
that Officer Schlesinger abused his authority when he turned on his body worn camera to record
his conversation because it was a clear violation of NRPD’s body worn camera policy.


           E. Complaint # 4

        On January 5, 2022, a New Rochelle resident reported that his parked vehicle had been
struck by another vehicle. Officer Schlesinger was assigned to conduct a preliminary
investigation. Earlier that morning, Complainant # 4 had struck the vehicle after a storm that
caused icy road conditions. After striking the vehicle, he spoke to a neighbor of the vehicle’s
owner. Complainant # 4 informed the neighbor that he would return to the accident location
because he had to take his elderly father, who was his passenger, to a doctor’s appointment. He
provided the neighbor with his contact information and left.



                                                 6
  Case 7:19-cv-00265-NSR-VR             Document 168-1          Filed 12/26/24      Page 11 of 15




        Officer Schlesinger and his partner went to the accident location as part of their
preliminary investigation. He spoke to the owner of the parked vehicle and observed the
damaged vehicle. The owner informed him that his vehicle was struck earlier that morning and
that a neighbor took of a picture of the vehicle that struck it. He provided Officer Schlesinger
with Complainant #4’s name and address and license plate number. Officer Schlesinger and his
partner did not speak to the neighbor but went directly to Complainant # 4’s home to speak with
him.

        Minutes later, Officer Schlesinger arrived at Complainant # 4’s home and spoke to
Complainant # 4 in front of his home. Officer Schlesinger’s body worn camera recorded their
conversation. Officer Schlesinger asked Complainant # 4 why he left the location of the
accident. He ordered him to provide his license and registration because he intended to issue
him a summons for leaving the accident location pursuant to VTL § 600(1)(a). Complainant # 4
and his elderly father tried to explain that they had left the scene of the accident to take the father
to the hospital. He stated that he had intended to return to the accident location before Officer
Schlesinger’s arrival. Complainant # 4’s elderly father tried to mediate the conversation between
Officer Schlesinger and Complainant # 4 asking Officer Schlesinger to show empathy because
he was a sick man and needed to go to the hospital.

       While Complainant # 4 explained the reason for leaving the accident, he referred to
Officer Schlesinger as “brother.” Officer Schlesinger told Complainant # 4 to stop calling him
“brother” and asked why he called him “brother.” Complainant # 4 responded that he called him
brother as a “courtesy.” Officer Schlesinger responded that it was “demeaning actually.”
Complainant # 4 provided Officer Schlesinger with his license and registration and Officer
Schlesinger issued him a summons. Before leaving Complainant # 4’s home, Officer
Schlesinger told Complainant # 4 “try not to hit anymore cars today.”

       During Officer Schlesinger’s interview with the OAG, he stated that more than three
hours passed from the time the accident occurred to when Officer Schlesinger arrived at
Complainant # 4’s home, though in actuality, the internal investigation found that approximately
one hour elapsed from the time of the accident to when Officer Schlesinger spoke to
Complainant # 4.

        Complainant # 4 contacted NRPD to make a complaint about Officer Schlesinger’s
discourteous conduct during the issuance of a traffic summons. He stated that he was not upset
about the issuance of the summons but rather the way Officer Schlesinger spoke to him and his
father.

        On January 18, 2022, IAU interviewed Officer Schlesinger about the incident.
According to Officer Schlesinger, he spoke to the owner of the parked vehicle as part of his
preliminary accident investigation. Officer Schlesinger was informed that the parked vehicle
was struck sometime in the morning and a neighbor took a photograph of the driver’s vehicle.
Officer Schlesinger did not speak to the neighbor but conducted a search using the license plate
number and obtained Complainant # 4’s name and address. He went to the Complainant # 4’s
home and spoke to him and his father. He described that he attempted to obtain the driver’s
license and registration, but Complainant # 4 and his father tried to explain why they left the


                                                   7
  Case 7:19-cv-00265-NSR-VR            Document 168-1          Filed 12/26/24     Page 12 of 15




scene of the accident. Officer Schlesinger informed IAU that he did not believe their version of
events because the damage to the parked vehicle indicated that the driver was not driving in the
direction of the hospital. He said that he explained this discrepancy to Complainant # 4 and his
father. The internal affairs investigator played his body worn camera during the interview,
which revealed that Officer Schlesinger did not explain that discrepancy to them.

        Officer Schlesinger stated that he asked Complainant # 4 not to call him brother because
he was not friendly with him and did not have a relationship with him. He further stated that “if
I called a black guy, a brother, would they like that?”

        The internal investigation sustained Complainant # 4’s allegations of discourtesy and
found that Officer Schlesinger was “dismissive, condescending, disrespectful, and overall
displayed a pattern of behavior that evinced rudeness.” NRPD concluded that his actions
violated two provisions of NRPD’s rules and regulations; namely § 2.1 that require officers to
conduct themselves in such a manner as to reflect most favorably on the department and § 2.4
that requires officers to be courteous and tactful in the performance of their duties and
demonstrate patience and discretion when dealing with the public. The agency imposed negative
discipline, namely the loss of two leave days, through the command discipline process for this
encounter and other incidents alleging misconduct and expressed concerns regarding Officer
Schlesinger’s pattern of behavior.

       We concur with the internal investigation’s findings.

II.    CONCLUSIONS AND RECOMMENDATIONS

        Executive Law § 75(5)(b) requires that the OAG “determine whether the subject
officer…has engaged in a pattern or practice of misconduct, use of excessive force, or acts of
dishonesty.” To identify a pattern of misconduct for purposes of Executive Law §75(5)(b), we
look to whether the subject officer engaged in multiple acts of similar misconduct. Based on our
findings, we conclude that Officer Schlesinger engaged in a pattern of abuse of authority by a
preponderance of the evidence with respect to the following acts:

       -   Stopping and temporarily detaining Complainant # 1 for driving a van without
           probable cause that she committed a traffic infraction or other offense on January 21,
           2021;
       -   Invoking his badge and status as a police officer to enter a restricted area at the North
           Shore University Hospital without authorization on August 30, 2021;
       -   Using his body worn camera to record a supervisor in violation of NRPD policy on;
           and
       -   Exhibiting unprofessional and condescending towards a member of the public on
           January 5, 2022.

        Abuse of authority is a serious form of police misconduct and allegations of abuse merit
scrutiny. Police officers “entrusted to protect the safety and rights of the public” and “hold an
elevated position within the criminal justice hierarchy [that] confers upon them a greater



                                                 8
    Case 7:19-cv-00265-NSR-VR               Document 168-1            Filed 12/26/24        Page 13 of 15




responsibility of office.”3 The OAG acknowledges that abuse of authority can take many forms
and has defined it to encompass misuses of police power during police interactions with the
public. Courts routinely subject these police interactions with the greatest scrutiny. In People v.
Debour, the New York Court of Appeals noted that an officer’s role to prevent crime is highly
susceptible to subconstitutional abuses; for whereas a policeman’s badge may well be a symbol
of the community’s trust, it should never be considered a license to oppress.4 Recently in Matter
of Lynch v NY City Civilian Complaint Review Bd., 206 AD3d 558 [1st Dept 2022], the
Appellate Division granted police oversight agencies latitude to define conduct that amounts to
abuse of authority because of their expertise in studying and investigating police disciplinary
matter. See also DiGiacomo v NY City Civilian Complaint Review Bd., 214 AD3d 531 [1st Dept
2023]. OAG assesses allegations of abuse of authority based on the availability of credible
information showing that committed constitutional abuses against members of the public and
violations of their agency’s rules for professional conduct.

        To address Officer Schlesinger’s pattern of abuse of authority, we recommend that
NRPD continue to curtail Officer Schlesinger’s engagement with members of the public and
closely monitor his conduct. His reassignment to desk duty is appropriate given that the
potential for encounters with the public has been foreclosed.

        We also recommend that NRPD consider the following policy changes:

        (1) Limit the use of the command discipline process for officers, like Officer Schlesinger,
            who repeatedly violate policy.

             NRPD imposed the loss of two leave days for Officer Schlesinger’s conduct during
             the encounter with Complainant # 4 on January 5, 2022. That same penalty also
             covered four unrelated internal complaints involving other lower-level infractions
             such as the failure to notify headquarters of a traffic stop on January 4, 2022, failure
             to maintain his body worn camera in an operational state on January 12, 2022, and
             failure to act while on special detail and appear for a special detail on time on January
             12, 2022, and January 21, 2022. To impose and document the loss of two leave days,
             the agency assigned the complaint number associated to Complainant # 4 to the four
             internal complaints (for minor infractions) and imposed the loss of two leave days
             under that complaint number.

             The assignment of the same complaint number to cover Officer Schlesinger’s
             unrelated complaints may have streamlined the disciplinary process, but considering
             Officer Schlesinger’s lengthy record of substantiated violations, he should not have
             benefited from a minimal loss of leave time, namely two days, to cover five unrelated
             complaints.5 The International Association of Chiefs of Police (“IACP”) advocates
             for the documentation of allegations of misconduct, the resulting investigation, and
             any corrective action so that agencies consider the accumulation of repeated

3
  See Concept & Issues Paper, Standards of Conduct, Int’l Ass’n of Chiefs of Police, July 2019, at 7,
https://www.theiacp.org/sites/default/files/2020-06/Standards%20of%20Conduct%20June%202020.pdf.
4
  People v De Bour, 40 NY2d 210 [1976]).
5
  NRPD Manual of Procedure Chapter 6 Disciplinary Procedures Article 6.01

                                                       9
    Case 7:19-cv-00265-NSR-VR                Document 168-1           Filed 12/26/24         Page 14 of 15




             behavioral problems or minor infractions of policy and procedures when determining
             future penalties for misconduct.6 Moreover, IACP recommends that each complaint
             should receive a unique tracking number.7

             We recommend that division commanders who choose to implement negative
             discipline through NRPD’s command discipline process should impose a separate
             penalty for each complaint with sustained allegations of misconduct or minor
             infractions. NRPD’s division commanders should refrain from proposing a single
             penalty to cover unrelated complaints because this practice does not accurately
             capture the number of complaints and the associated corrective measures or discipline
             imposed and may inhibit progressive discipline.

        (2) Define “minor infraction” and “repeatedly engage in such conduct,” as used in the
             Disciplinary Procedures. The definition of “Command Discipline” and other
             provisions refer to “minor infractions” without providing guidance as to what conduct
             falls within this category. Supervisory Responsibility section provides that officers
             who “repeatedly engage in such conduct,” referring to “minor violations,” should be
             formally written up and departmental charges should be preferred, but it does not
             define what constitutes repeated conduct. Supervisors should have a clear
             understanding of the agency’s expectations for disciplining officers and, similarly,
             officers should be assured that supervisors will fairly apply the Disciplinary
             Procedures under these circumstances.

        (3) Similarly, to ensure fairness and consistency across officers, NRPD should consider
            developing a disciplinary matrix to provide guidance on appropriate penalties.

        (4) Amend the description of supervisors’ reporting requirements in Supervisory
            Responsibility section. Currently, § 1.1 of the Disciplinary Procedures currently
            makes it discretionary for supervisors to document and forward complaints for further
            action for incidents involving officers committing minor infractions, but § 1.7
            requires supervisors to make a record of any disciplinary action. Section 1.1 should
            be amended to have the same reporting requirement as § 1.7 to allow supervisors to
            track all complaints and the corresponding corrective action or discipline and ensure
            progressive discipline in the future.

        (5) Update Chapter 2, Article 2.03 § 3.1 of the Uniform Traffic Ticket and Enforcement
            Policy to reflect the proper bases for a lawful traffic stop as set forth by the New York
            Court of Appeals in People v Hinshaw, 35 NY3d 427 [2020]. Currently, NRPD’s
            traffic enforcement policy provides that officers have the authority to conduct a traffic
            stop when they reasonably suspect a motorist committed a traffic offense. However,
            under Hinshaw, officers in New York state must have probable cause, a higher


6
 See Concept & Issues Paper, Standards of Conduct, supra note 3, at 3-4.
7
 See Concepts & Issues Paper, Investigation of Allegations of Employee Misconduct, Int’l Ass’n of Chiefs of
Police, April 2019, at 1, https://www.theiacp.org/sites/default/files/2020-
08/Investigation%20of%20Allegations%20of%20Employee%20Misconduct%20-%20FULL.pdf.

                                                       10
  Case 7:19-cv-00265-NSR-VR          Document 168-1         Filed 12/26/24     Page 15 of 15




          standard than reasonable suspicion, to conduct a traffic stop based on their
          observance of a traffic offense.

       Pursuant to Executive Law § 75(5)(c), we request that your agency inform the OAG
within ninety days of the actions it is taking in response to this letter.

                                    Sincerely,

                                    LETITIA JAMES
                                    Attorney General of the State of New York

                                    By:     Assistant Attorney General Simone Manigo
                                            Law Enforcement Misconduct Investigative Office




                                                 11
